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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

ESTEBAN. PEREZ, FELIPE GALINDO, and DELFINO LOPEZ,
Plaintiffs,

~against-

Case No. 1:17-cv-07837 (RUS)

50 FOOD CORP. (D/B/A SILO CAFE) and ANDREW SUNG
(A.K.A. HWAN SEUNG SUNG},

Defendants.

89-00 Sutphin Boulevard
Jamaica, New York 11435

May 22, 2018
3:57 P.M.
DEPOSITION cf MINCHUL

KIM, a Witness on behalf of the Defendant
herein, 50 FOOD CORP. {D/B/A SILO CAFE), taken
by the attorney for the Plaintiff, through a
Korean Interpreter, pursuant to Notice, and
held before Kathleen Anderson, a Notary Public

of the State of New York, at the above stated

time and place.

 

 

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APPEARANCES

CATHOLIC MIGRATION SERVICES
Attorneys for Plaintiff (s)
47-01 Queens Boulevard, Suite 201
Sunnyside New York 11104

BY: MAGDALENA BARBOSA, ESQ.

VARACALLI & HAMRA, LLP
Attorney for Defendant (s}
32 Broadway, Suite 1818
New York New York 10004

BY: DOUGLAS VARACALLT, ESQ.

ALSO PRESENT:

GIRA HONG, Korean Interpreter

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2 TT IS HEREBY STIPULATED AND AGREED by and
3. between the attorneys for the respective :
4 parties hereto, that the sealing, filing and ;
5 certification of the transcript of the within
6 examination before trial will be and the same
7 hereby are waived.
8 !
9 IT IS FURTHER STIPULATED AND AGREED that
LO all objections, except as to the form of the
11 question, will be reserved to the time of
12 trial;
13
14 TT {1S FURTHER STIPULATED AND AGREED that
15 the within examination may be signea before any
16 Notary Public with the same force and effect as
17 if signed and sworn to before this Court.
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GIRA HONG,

The Interpreter herein, having been
previously sworn by Kathleen Anderson, a Notary
Public in and for the State of New York, to
interpret the questions from English into
Korean, and the answers from Korean into
English, interpreted as follows:
MINCHUL KIM,

The witness herein, having been first
duly sworn by Kathleen Anderson, a Notary
Public in and for the State of New York, was
examined, and testified as follows:

DIRECT EXAMINATION
BY MAGDALENA BARBOSA, ESQ.:
QO What is your name?
Minchul Kim.

A
Q Wheat is your address?
A

 

 

9 Throughout your employment at 50 Food
Corp, how often would you see Andrew Sung?

A For the first, up to two years or so
that I started working there, I always saw him

working with me in the store. Then it started

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M. KIM
getting busy and he started trusting me more
and more. He would come to the store like once
or twice a week.

Q So currently you see Mr. Sung once or
twice a week?

A Actually it's maybe more like once a
week or once every other week.

Q And when you see him, is it because
he's visiting the store?

A Yes,

O And when he visited Silo Café, would
he spend the entire day there?

A Just very briefly.

Q When you say very briefly, less than
an hour, a couple of hours, what do you mean?

A Used to be about two or up to three
hours, but nowadays I see him like maybe when
he comes, does not stay more than an hour.

QO When he would come to visit the café,
what would he do?

A He want to make sure that @verything
is stocked well and this place are nice and
organized and occasionally he checks mail, that

is more or less what I saw him do.

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M. KIM
Q Would he meet with you and ask you
questions?
A Normally he doesn't initiate any

conversation with me. It is actualiy I who
would talk to him to address some questions.

Q What types of questions would you ask
him?

A In case of a recent incident, it's
very tough to hire people, actually I had to do
-- IT had to work in the sandwich station for
nearly a month. Yeah, so I told him that we
had to hire extra heip, even if it's more cost
for us.

Q So you would talk to him about hiring
practices, that's one topic you would talk to
him about; right? Would you ever discuss with
him problems you had individually with
employees?

A Yes. Yeah. I mentioned before I
speak rather softly and not aggressively, so
for those inciderides where I got into an
argument with an employee, in addition,
including the Felix, it would appear to someone

as if I was the employee hired by the person

 

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M. KIM
I'm arguing with. So actually was not capable
of controlling the employees there. So that
was very stressful for me. So those are the
things I talked to Mr. Sung about,

Q Would Mr. Sung instruct you to do
things differently when engaging with problem
employees?

A Yes. He did give me tips how to
handle, but when I tried to address these
serious issues, I become very fragile, I become
like very -- my heart becomes very vuinerable
towards them.

O Besides Mr. Sung's weekly or biweekly
visits, would you ever speak with Mr. Sung over
the phone?

A Yes.

QO How often would you speak with Mr.
Sung over the phone?

A Maybe two to three times a week.

QO What kind of things would you
typically discuss during these phone calls?

A The more important reason to talk
with him over the phone would be when I have to

spend large amount of money, for example, if I

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M. KIM
need to repair a refrigerator and it was, Say,
about less than a hundred dollar, I would not
need his authorization, but if it was a lot
higher than that, like 500 or more, I would

need to get his permission,

Q Have you ever fired an employee?

A Yeah, IT do think T have. One or two
times.

Q Did you discuss this before, did you

discuss this with Mr. Sung before actually
firing the employees?

A In those circumstances I had
conferred with Mr. Sung many days before I
would actually fire anyone because I would
speak to Mr. Sung, I would tell him if the
situation doesn't get corrected by a certain
employee, you would decide to -- you would

just fire that person.

Q Did he authorize you to fire these
people?
A Yes.

G And you needed to speak with him
first before you actually fired these

employees?

 

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1 M. KIM
2 A Yes.
3 QO When was the last time Mr, Sung
4 visited Silo Café?

5 A I think it was last Monday.

6 0 How Long was he there for?
7 A I'm not too sure, maybe about three
8 hours.
9 Q Did the both of you speak during this
LO visit? :
11 A Yes, |
12 Q What did you discuss?
13 A Because of the slow business we were
14 very concerned. So we discussed about how we 2
15 going to keep our menu or if we should modify
16 it. And I complained to Mr. Sung that we need
17 to hire another help, but because we are not
18 able to, it's becoming very tiring and |
19 stressful for me. And I was very worried about
20 one thing and that is I am scheduled to go to
ai Korea in July and I had planned on training ,
22° ‘somebody béfore I leave and that wasn't going |
23 to be very feasible, so I was upset —- Tm |
24 sorry, I was stressed out and expressed that to |
25 Mr. Sung.

 

 

 

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1 M. KIM
2 QO Do you need Mr. Sung's authorization
3 to hire an additional employee?
4 A Well, that is not really the case.
5 As I mentioned this too, before, that he -- if
6 I was going to hire someone who is —- whose pay
7 would be comparable to who we are currently
8 using in the same capacity, I would not need
9 Mr. Sung's authorization, but if I am asked to
10 pay a lot more than the current worker in the
11 same capacity, I will need to get an
12 authorization from Mr. Sung.
13 Q It sounds to me like you're
14 describing a situation where presently you need
i
15 more help at the café; is that right?
16 A Yes.
i? Q So why don't you hire somebody?
18 A As I told you, it's hard to find new :
19 heip. And then it's often the case that a
20 newly hire would come to work one day and then
2l yust not show up the next day.
22 Q During Mr. Sung's visits to Silo
23 Café, have you ever observed him speaking
24 directly with any of the employees?
25 A Other than myself? |
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M. KIM
Yes.

A My answer would be no, because even
to myself he wouldn't really say anything, he
would just maybe smile at me. That's it.

Q So you're telling me when Mr. Sung
comes to visit, he just smiles at you, he
doesn't actually talk to you about business
issues?

A That is correct. As I said, he is
not at all a talkative man.

Q. So you don't have conversations when
he visits you?

A What I'm saying is that we do have
conversations, but it's never he who comes to
me to start a conversation. It's only when I
have an issue or something to address to him,
then we would have a conversation.

9 And is it your testimony that you
have never seen Mr. Sung interact at all with
any other individuals at Silo Café other than
yourself? |

A Nearly none. Nearly none because it
could be that he would come in to say hi, he

comes in and say hi, but he would leave and no

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that's located on Fast 32 Street,

more or le
where you
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tiny bit.
Q
Silo Café?
A
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is?
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Q

M. KIM

know that he had left.

 

We discussed earlier the Silo Café i
is that café,
ss, the same size as the Silo Café

work?
Tt say similar or maybe a bit larger,

Who is currently the manager of that

Danny.

Do you know what Danny's last name

I dontt know.

 

Is Danny just a name he goes by at

work or does he have another
A We have -- there's
interactions between the two
Cafés, so I don't know about
Q Okay. Thank you.
Danny has another name?
Bw No, I don't know.
Q Have you known any

managers at the Silo Café at

A I don't,

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I real don't.

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name?
really no
stores, two Siio

that.

But do you know if

of the other

 

32 Street?

As far as I

 

 
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1 M. KIM
a understand, there have been so many turnovers,
3 at least five managers have changed. :
4 Q So you're saying that during your
5 employment with Silo Café, you have met around
6 five people that have managed the Silo Café at
7 Rast 32 Street?
8 A Yes,
3 Qo Did Mr. Sung ever directly manage the
10 Silo Café at East 32 Street?
11 A & don't know that.
12 Q Are you aware of whether Mr. Sung has
13 any family members that work at the Silo Cafe
14 at East 32 Street?
15 A I don’t know.
16 Q You indicated earlier that perhaps
17 you visited the location at East 32 Street
i8 maybe around ten times; is that right?
49 A Yes.
20 — Q Have you ever worked at that
21 location?
22 A No.
23 Q Have you ever filled in for anybody
24 at that location?
25 A No.

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0 Have you ever observed any documents :
used at that location?

A No.

Q Does that Silo Café have a similar
setup, does it have a buffet with different
food stations?

A Yeah, I believe so.

Qo Do you know whether the Silo Café at
Fast 32 Street uses the same vendors as the
Silo Café at 805 Third Avenue? |

A tT assume there were quite a few that i
we are using mutually, but there are quite a
lot that they are using independent of what we

are using at 85 Street, I mean 305, my store.

 

O You mentioned earlier in the day that
you met Mr. Sung through someone who you go to

church with; is that right?

A Yes.
Q And remind me of that person's name
again?

A Kang, KAN G, MY O, last name NA™

Qo And it was Mr. Nah who introduced you

to Mr. Sung?

 

 

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M. KIM
(Witness nods.)
QO Prior to that introduction, had you
ever spoken with Mr. Sung?
A No.
Q Prior to that introduction did you
know anything about Mr. Sung?

A None.

Q Besides the Silo Café where you work
and the Silo Café located at Bast 32 Street, do
you know how else Mr. Sung spends his time,
what he does for work?

A He doesn't mention anything regarding
that kind of thing, so I wouldn't know. I
really don't know anything about that for sure.

Q Okay. Do you know whether he is
involved in any other businesses in New York
City?

A T don't know.

Q Have you ever heard discussions or

rumors about him owning any other business in

“New York City like a deli or restaurant?

A No.

Q You testified earlier that you had a

discussion with Mr. Sung about this lawsuit in

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M. KIM
or about October of 2017; is that right?
A Yes, when IT received the paper about

the lawsuit.

 

 

Q After that discussion in October of
2017, when was the next time that you guys

discussed this lawsuit?

 

A My answer is no, and IT do want to say
that it was the first time in October 2017 upon
receiving these -- the litigation papers, he
said, Mr. Sung said not to be concerned about
this matter and since then, he mentioned

nothing more about this lawsuit. You see my

 

address here, I provided my address because Mr.
Sung said he would need it, and other than
that, I know nothing more about the lawsuit.

Q But you did have a discussion with
him regarding your notice to appear at this
deposition; right?

A Then I learned when I received,
learned about attending deposition, when I was
served with this in person, prior to then Mr.

Sung mentioned nothing about me going to a

 

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deposition.

o After you received the notice to

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M, KIM
appear for this deposition, did you speak to
Mr. Sung about this deposition and in general
about this lawsuit?

A Yes, I did ask him what I'm supposed
to do and he said, you will go to deposition
but just tell the truth, whatever you know.

QO Did you speak with anyone else about
appearing at the deposition today?

A My family knows and the cashier who's
actually working now, waiting for me to return
to the store and Felix knows. Even though f
didntt mention it, he managed to find out.

9 Okay. Did you have a conversation
with Mr. Varacalli about appearing at the
deposition today?

A No. As I said, I prepared nothing. I
did work at the Silo Café store for nine years.

And I was stating the truth as I saw and

experienced.

Q Okay. Are you aware that there was a
settlement conference in this matter several

weeks ago?

A Yes, I did because Felix did not show

up for work.

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M. KIM
0 Besides that, did anyone -- did
anyone speak ta you about the settlement
conference?
A No one did, and f don't speak

Spanish. It appears that Felix spoke to other

“Spanish speaking employees. I'm not sure,

could have just well been.

Q Did Mr. Sung have a discussion with
you about the settlement conference?

A He did.

QO What did he say?

A (Speaking in English) he said to
me -~

QO In Korean.

A Mr. Sung said that he's going to
stick this out, this lawsuit, because while we
may be missing some important documents, we did
submit what we did to the best we can.

Q Okay. Would you say that you have a
working knowledge of the requirements under the
New York labor law?

A The truth is I really do not.

Q Did anyone ever advise you of any

Ghanges to the New York labor law in the last

 

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M. KIM
two or three years?
A I do not think so. Are you referring
to paid sick days?
0 Right now I am not. I'm referring to |

requirements employers have regarding wages and
hours under the New York labor law?

A Yeah. I did mention that notice has

 

 

been was posted in the store.

Q About the minimum wage and overtime,
is that what you're talking about?

A Yes. In fact, I had visited the
labor department website and had it printed

out.

MS. BARBOSA: Okay. Thank you.

 

Mark this as Plaintiff's Exhibit 8.
(Whereupon, the above mentioned
document was marked as Plaintiff's

Exhibit 8 for identification, this date

 

by the Reporter.)

Q Please take a look at what has been
marked as Plaintiff's Exhibit number 8. [It's
also identified by bates stamp P000007. Do you
recognize this document?

(Witness peruses document.)

 

 
   

 

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M. KIM
A Yes.
0 What is this?
A This was given to certain empioyees

at their request and I had to write certain

dollar amount at their request.

Q Ts this your signature at the bottom?
A Yes.
QO And would it be correct to say that

you signed this on May 19, 2016?
A Yes.

QO Who typed up this letter?

A I did sign.
QO And what was the purpose of this
letter?

A I was told that this had to be
submitted to the hospital for deductibles. For
less deductibles that they were looking for.

Q Did you refer to any documents in the
office at Silo Café in order to write this
letter?

A This is only when needed
occasionally, not monthly, so I would merely
change, alter the name and the amount for each

occasion,

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1 M. KIM
2 Q Thank for your that information, but
3 you didn't respond my question.
Ao My question was, did you refer to any
5 -documents in the office at Silo Café, any
6 employment documents in order to write this

7 letter for Mr. Lopez?

8 A Actually it was written, prepared

9 based on whatever he wanted me to write. You

10 can see that this is the template right here,

11 the only sentence, and I had only changed the

12 name each given time.

13 Q Ts the information in this letter
14 accurate?
15 A Well, in fact it is not accurate,

16 because he was not to get, he did not get

1? $350.00. But he wanted me to write $350.00.

18 oO So that amount is not accurate?
19 A No,
20 Q Is there anything else in the letter
21 that's inaccurate? :
22 A Yeah, 2015, yeah. I just wrote that 3
23 as he wanted it, because I knew that the
24 hospital would know the accurate year that
25 applies for his needs. |

 

 

 

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22

M. KIM

Q Was it your understanding that Mr.

Teas anne Sonn ea

Lopez was paid a weekly salary?

A Yes. A

QO So Mr. Lopez understood that he
received a set weekly salary on a weekly basis;
is that right?

A Yes.

Q Do you have any idea what the
correct, his correct salary would have been LE
you had referred to the correct documentation
in the café?

A I would use to get this information
entirely correct, I would have to refer to the

period which he was paid and I would be able to

 

obtain the correct information about him. i
Again, this is the amount was based on what he
wanted me to write.

MS. BARBOSA: Mark this as

SE Ne eo LORS ee Reson Tacs penne ROPE

Plaintiff's Exhibit 9.

(Whereupon, the sick leave policy
was marked as Plaintiff's Exhibit 9 for
identification, this date by the

Reporter.)

 

Q Please take a look at Plaintiff's

 

 
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23 |
1 M. KIM
2 Exhibit 9, also identified as bates stamp |
3 PO00004. Do you recognize this document?
7 4 (Witness peruses document. }
5 A Yes.
6 Q What is it?
7 . A It's regarding paid sick/leave
8 policy.
9 QO Okay. Can you identify whose 2
10. ‘signature is at the bottom, it has employee
11 name?
12 A By Felix Galindo.
13 2 Do you know who gave Mr. Galindo this
14 document to sign?
15 A I did. :
16 Q And why did you give him this
17 document to sign?
18 A First of all, Mr. Sung said it has to
19 be maintained in the premises and that it
20 should be given to each employee because
21 employee should be made aware of these
22 policies. -
23 0 So Mr, Sung gave you —— instructed
24 you to give this document to the employees at
25 Silo Café; is that right?

    

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M. KIM :
A Yes.
Q Very good. Do you have any reason =O

believe the Plaintiff, Esteban Perez, may not 2

be considered somebody who is credible, who is

 

truthiul?

A Not with Esteban, no,

QD So you consider him to be a truthful
person?

A In my opinion, I did not experience :

dishonesty from that guy.

QO Okay. What about Delfino Lopez, is
there any reason why Delfino Lopez would not be
considered as someone who is credible?

A With Delfino spoke nearly none, he A

 

 

did not speak much at all. My initial
impression of him was not that gocd at all.

Q Why is that?

A Because he was always frowning, not

saying anything. And even when he spoke, ne

would not speak kindly. But with him he was

always on time, coming to work, nearly never

Pci ans aan eit

   
 
  
     

late and he worked hard.

Q There's no reason that you can think

of that Delfino Lopez would not be a truthful

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L M. KIM
2 person; is that raght?
3 A Yes, I don't think badly of him at
4 all.
5 QO We were discussing Silo Café's sick
6 leave policy when we were discussing
7 Plaintiff's Exhibit 9, do you recall when Mr.
8 Sung asked you to distribute this sick leave
9 policy to the employees?
10 A T don't know. I don’t remember,
11 excuse me.
12 0 The date of Mr. Galindo's signature
13 on Plaintiff's Exhibit number 9 looks to me
14 like duly 6, 2016, is that the date that you
15 see as well?
16 A I don't have independent
177 recollection.
18 Q Okay. Do you recall whether there
19 was a sick leave policy prior to 2016?
20 A So I don't really recall the date,
21 but through some occasion I found out about
22 this and it was this finding out, made it our
23 practice to sign and date it and this should be
24 to people, distributed to people.
25 QO Is it Mr. Sung who told you about

 

 

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26 |
i M. KIM
2 this need to have this policy?
3 A Well, when Mr. Sung brought this to
(4 me, I thought that that was the reason so, you
5 know, I have been maintaining it the way I
6 have.
7 Q ts it Mr. Sung who instructed you to
8 maintain this policy at Silo Café?
9 A I guess that's what he meant for me
10 to do when he handed this to me, to keep it in :
il. the business.
12 QO Thank you. Besides sick days, does
13 50 Food Corp provide any other benefits to its :
14 employees?
15 THE INTERPRETER: Besides what? |
16 QO Sick days, does 50 Food Corp provide —
fl
L any other benefits to its employees?
18 A The way we understood the sick day
19 would be -- we thought that if one employee has
20 not used up his sick day, by the end of the
21 year, we would have to reimburse him, the :
22 employee. And -- but prior to this occasion we —
23 used to make it practice to pay at least halt
24 day during the holidays was slowing down in
25 business, it became unreasonable to pay the

 

 

 

 

 

 

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1 M. KIM
2 holidays and for the sick day, especially /
3 because the way our business is located, where
4 other business is located, so starting at
3 certain time to which I do not recall, Mr. Sung
6 stopped paying holidays. :
‘f Q Was it Mr. Sung's decision to stop
8 paying holidays?
9 A ves. Because the slow down of
10 business was the big reason.
11 MS. BARBOSA: Okay, thank you. I'm
12 just going to go off the record for a
13 moment. .
14 (Whereupon, an off the record
15 discussion was held.)
16 (Whereupon, a short recess was
1? taken, time noted: 4:45-5:04 PM.)
18 Q I'm going to redirect everyone's
19 attention to Plaintiff's Exhibit number 5.
20 Plaintiff's Exhibit number 5 is this document
21 with Felix Galindo's name on it, the payment
22 a report 2013 is in the top left corner.
23 (Witness peruses document. }
24 Q I just want to get a little bit more
25 information about the process in filling out

 

 

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M. KIM
these payment reports.

The first column entitled, week
ending, so is that Monday through Friday
typically the start time and the end time?

A Yes.

Q And then you would actually pay out
the wages and ask the employees to sign the
payment report on the following Wednesday, is
that right, Wednesday or Friday?

A The recipients’ signatures are
requested upon handing over the wage.

Q That I understand. I just want to
make sure I understand that the payment report
is for Monday through Friday; is that right?

A Yes,

QO So if we were to look at a calendar
of January 2, 2013, I assume January 2 would be

a Monday?

A Yes.

Qo Is that right?

A Yes.

Q I want to go back to have a better

understanding of how you calculated regular

hours in these payment reports.

 

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M. KIM

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T£ an employee, in 2013, I understand
that employees worked Five days a week, nine
and a half hours per day; is that right? So I
think that's 47 and a half hours a week; is
that right?

A Yes.
QO So if an employee worked nine and a

half hours per day, Monday through Friday, and

 

 

they worked those exact hours that week, what
number would you enter to designate regular
hours in this payment report?

A In this case an employee worked for
three days, but only two days, excuse me, three
days from January 2, January 3, January 4, 80
it would then be forty hours under the regular

hours column.

Q If it was forty hours under the
regular hours column, why was the number 24
entered in this payment report?

A It would be forty hours, but in this
particular document, the work was for three
days only.

Q Okay. So is it for this particular

week, you entered 24 because the worker worked

 

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M. KIM
eight hours each day and you were trying to
illustrate that the employee worked eight ho
for three days, so that's 24 hours?

A Correct. Correct. Again, this
particular employee worked three days only,
eight hours a day.

Q So do you understand reguiar hours
be a certain amount of hours worked per day?
A Yeah, I'm referring to someone

working eight hours a day. And in case a
person, an individual worked more than eight
hours a day, he or she will be paid on the

overtime rate.

QO Okay. So your understanding of the

way overtime works is that an employee gets

overtime if they work more than eight hours a

day?
A Yes, that was my understanding.
Q Okay. The plaintiffs in this case

did you understand that they received a set

weekly salary or a specific hourly rate during

their employment?

A T don't know what they were expect

their payment should be. So how -~ what they

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1 M. KIM
2 thought, what the employees thought they should |
3 be getting on weekly basis, a specific amount
4 or would it be based on the total amount of
5 time they worked taking into overtime rate, If
6 really don't know how they regarded their
7 payment should be. All f could do was to enter
8 accurate information as to how many days work
9 and how many hours they actually worked and if
LO any overtime rate applied, this was explained
11 to them, explained to each employee when T
12 handed over and they can see for themselves how
13 their wage was exactly calculated.
14 Q You indicated earlier that you hired "
i5 the Plaintiff, Esteban Perez; is that right?
16 A Yes,
17 Q And when you hired him, what did you
18 tell Kim about what his salary would be?
19 A So initially I remember explaining to
20 him what he can expect to receive weekly basis.
24 For an example, in this case it's $399.79, so |
22 for the purpose of simplication (sic), I would
23 tell him $400 weekly is what he's expected to
24 earn, but when I hand over the payment report
25 to each employee, I would explain how his -- |
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L M. KIM
2 their total weekly wage has been calculated, of
3 course, based on the hours they work, if any
4 overtime applied or taking into consideration
5 any deductions for breaks or what else should
6 be, whatever should be there so that employes
7 could see exactly what and how he was paid.
8 o Are you telling me that each time you
9 asked an employee to sign this payment report,
10 that you would have a discussion with them
11 explaining to them how their salary was
12 calculated? |
13 A IT did not. Only couple of times I i
14 did. But not every single time. Because there
15 were no complaints or questions about it. It
16 was self-explanatory.
1? o Okay. Just to confirm and make sure :
18 + understand correctly, when you hired Mr.
19 Perez and you were explaining to him what his
20 salary would be, you told him that he should :
2i expect to receive a weekly salary, I believe
22 you said $400; is that right?
23 A tT don't know how to best explain what
24 I told him. In case of what Mr. What? i
20 Qo Mr. Perez?

 

 

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33 |
1 M. KIM
2 A Mr. Perez, normally any new hired
3 employee, general, were really mainly
4 interested in knowing what they will be earning
5 weekly. So this is generally what I say to new
6 hire people, that at the café we have everybody :
7 working eight hours a day, but if he work nine
8 and a half hours a day, one and a half hour :
9 will be calculated based on overtime rate and |
LO working five days like that, they can expect
11 certain amount of money and I mentioned that
12. amount based on the hourly rate we had agreed
13 upon. And J definitely did explain to each
14 recipient, especially for the new hire, when I
15 presented the payment report, the content of :
16 each calculation. '
Ll? MS. BARBOSA: I don't have any
18 further questions. :
19 (Continued on the next page.)
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: z SNE SR Soa RE Se Span = a= {aaa TENA : Sa camera)
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M. KIM :
MR. VARACALLI: dust one thing from
my end, the defendant corporation, 50
Food Corp., reserves the right to review
answers and make corrections. That's
all.
(Whereupon, the Examination Before
Trial of this witness was concluded at
5:18 P.M.).
* * *
a "BEE REPORTING AGENCY, INC, - 912-327-3500

 
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ACKNOWLEDGEMENT

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STATE OF NEW YORK }
SS:
COUNTY OF }

{, MINCHUL KIM, hereby certify that I have |
read the transcript of my testimony taken under
oath in my deposition of May 22, 2018; that
the transcript is a true, complete and correct
record of what was asked, answered and said
during this deposition, and that the answers on

the record as given by me are true and correct.

 

MINCHUL KIM

BT TSN Ese eS

Subscribed and sworn to

before me this day
of , 2018.

 

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NOTARY PUBLIC

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36

3 WITNESS BY PAGE |

4 MINCHUL KIM Ms. Barbosa 5

fs) BXHIBITTS
7 PLAINTIFF'S DESCRIPTION PAGE

8 8 Letter 19

 

9 9 Sick leave policy 22
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:
2 CERTIFICATSE
4 I, KATHLEEN ANDERSON, a Notary Public of :
5 the State of New York, do hereby certify
6 That the testimony in the within
7 proceeding was held before me at the aforesaid
8 time and place
9 That said witness was duly sworn before
10 the commencement of the testimony, and that the :
1 testimony was taken stenographically by me,
12 then transoribed under my supervision, and that
13 the within transcript is a true record of the
14 testimony of said witness. :
15 I further certify that I am not related to
16 any of the parties to this action by blood or
L? marriage, that I am not interested directly or
18 indirectly in the matter in controversy, nor am
19 I in the employ of any of the counsel.
20 IN WITNESS WHEREOF, I have hereunto set my
21 hand this 14th day of June, 2018, é .
a4 KATHLEEN ANDERSON
516-485-2222 BEE REPORTING AGENCY, INC, 212-327-3500

  
 

 

   

 
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